Case 23-20950-CMB           Doc 15     Filed 07/11/23 Entered 07/11/23 13:58:18                  Desc Main
                                      Document     Page 1 of 17



                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In Re: Jesse L. Trimble,                      :          Bankruptcy No. 23-20950-CMB
       Kelli M. Trimble,                      :
                      Debtors                 :
                                              :          Chapter 7
      Jesse L. Trimble,                       :
      Kelli M. Trimble,                       :
Movant                                        :
                                              :          Related to Document No. 1
       v.                                     :
                                              :
“No Respondent”                               :

                                    AMENDMENT COVER SHEET

 Amendment(s) to the following petition, list(s), schedule(s), or statement(s) are transmitted herewith:

         Voluntary Petition - Specify reason for amendment:

         Official Form 6 Schedules (Itemization of Changes Must Be Specified)
         Summary of Schedules
         Schedule A - Real Property
 x       Schedule B - Personal Property
 x       Schedule C - Property Claimed as Exempt
         Schedule D - Creditors holding Secured Claims
                  Check one:
                          Creditor(s) added
                          NO creditor(s) added
                          Creditor(s) deleted
         Schedule E - Creditors Holding Unsecured Priority Claims
                  Check one:
                          Creditor(s) added
                          NO creditor(s) added
                          Creditor(s) deleted
         Schedule F - Creditors Holding Unsecured Nonpriority Claims
                  Check one:
                          Creditor(s) added
                          NO creditor(s) added
                          Creditor(s) deleted
         Schedule G - Executory Contracts and Unexpired Leases
                  Check one:
                          Creditor(s) added
                          NO creditor(s) added
                          Creditor(s) deleted
         Schedule H - Codebtors
         Schedule I - Current Income of Individual Debtor(s)
         Schedule J - Current Expenditures of Individual Debtor(s)
 X       Statement of Financial Affairs



PAWB Local Form 6 (11/21)                                                                       Page 1 of 2
Case 23-20950-CMB         Doc 15    Filed 07/11/23 Entered 07/11/23 13:58:18             Desc Main
                                   Document     Page 2 of 17


       Chapter 7 Individual Debtor's Statement of Intention
       Chapter 11 List of Equity Security Holders
       Chapter 11 List of Creditors Holding 20 Largest Unsecured Claims
       Disclosure of Compensation of Attorney for Debtor
       Other _________________________________________________________________________



 Date: July 11, 2023                          /s/ Kenneth Steidl
                                              Kenneth Steidl, Esquire
                                              Attorney for the Debtor(s)
                                              STEIDL & STEINBERG, P.C.
                                              Suite 2830 - Gulf Tower
                                              707 Grant Street
                                              Pittsburgh, PA 15219
                                              (412) 391-8000
                                              P.A.I.D. No. 34965
                                              ken.steidl@steidl-steinberg.com


 Note: An amended matrix of creditors added by the amendment must be submitted on disk with the
 amendment. Attorneys filing electronically on the Case Management/Electronic Case Filing System may
 add creditors to the case electronically.




PAWB Local Form 6 (11/21)                                                               Page 2 of 2
           Case 23-20950-CMB                                   Doc 15          Filed 07/11/23 Entered 07/11/23 13:58:18                                    Desc Main
                                                                              Document     Page 3 of 17
Fill in this information to identify your case and this filing:

Debtor 1                    Jesse L. Trimble
                            First Name                                 Middle Name                    Last Name

Debtor 2                    Kelli M. Trimble
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      WESTERN DISTRICT OF PENNSYLVANIA

Case number            23-20950                                                                                                                                 Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       1254 Ohioview Drive                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the      Current value of the
       Industry                          PA        15052-0000                         Land                                       entire property?          portion you own?
       City                              State              ZIP Code                  Investment property                               $100,000.00                $100,000.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Fee Simple
       Beaver                                                                         Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               *Fair Market Value determined by CMA from 04/14/2023


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $100,000.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
             Case 23-20950-CMB                      Doc 15         Filed 07/11/23 Entered 07/11/23 13:58:18                                          Desc Main
                                                                  Document     Page 4 of 17
Debtor 1         Jesse L. Trimble
Debtor 2         Kelli M. Trimble                                                                                  Case number (if known)       23-20950

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      Dodge                                    Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Ram 2500                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2017                                        Debtor 2 only
                                                                                                                             Current value of the      Current value of the
         Approximate mileage:                75,000             Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         *Fair Market Value determined
         by KBB                                                 Check if this is community property                                  $20,000.00                 $20,000.00
         Location: 1254 Ohioview Drive,                          (see instructions)

         Industry PA 15052


  3.2    Make:      Jeep                                     Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Cherokee                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2019                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                47,000             Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         *Fair Market Value determined
         by KBB                                                 Check if this is community property                                  $25,000.00                 $25,000.00
         Location: 1254 Ohioview Drive,                          (see instructions)

         Industry PA 15052


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:      Reiser                                   Who has an interest in the property? Check one
                                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     82" by 14' Trailer                          Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2021                                        Debtor 2 only                                                Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         *Fair Market Value determined                          Check if this is community property                                  $1,700.00                   $1,700.00
         by Purchase Price                                       (see instructions)

         Location: 1254 Ohioview Drive,
         Industry PA 15052



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $46,700.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....




Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2
         Case 23-20950-CMB                   Doc 15        Filed 07/11/23 Entered 07/11/23 13:58:18                                 Desc Main
                                                          Document     Page 5 of 17
Debtor 1      Jesse L. Trimble
Debtor 2      Kelli M. Trimble                                                                      Case number (if known)     23-20950


                               Basic Household Goods & Furnishings
                               Summary Available Upon Request
                               Location: 1254 Ohioview Drive, Industry PA 15052                                                                  $3,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                               Basic Electronics
                               Location: 1254 Ohioview Drive, Industry PA 15052                                                                  $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

                               Hunting Rifles, 2 Handguns
                               Location: 1254 Ohioview Drive, Industry PA 15052                                                                  $1,200.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                               Clothing
                               Location: 1254 Ohioview Drive, Industry PA 15052                                                                  $2,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                               Jewelry
                               Location: 1254 Ohioview Drive, Industry PA 15052                                                                    $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                               1 Dog
                               Location: 1254 Ohioview Drive, Industry PA 15052                                                                       $0.00

Official Form 106A/B                                         Schedule A/B: Property                                                                   page 3
         Case 23-20950-CMB                                       Doc 15             Filed 07/11/23 Entered 07/11/23 13:58:18                                  Desc Main
                                                                                   Document     Page 6 of 17
Debtor 1         Jesse L. Trimble
Debtor 2         Kelli M. Trimble                                                                                                 Case number (if known)   23-20950


14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                                 $7,700.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Checking                                West Aircomm FCU                                                           $300.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                                                  Institution name:

                                            401(K)                                              Ascensus                                                                $53,512.49


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                                                Institution name or individual:


Official Form 106A/B                                                                     Schedule A/B: Property                                                               page 4
         Case 23-20950-CMB                    Doc 15       Filed 07/11/23 Entered 07/11/23 13:58:18                                  Desc Main
                                                          Document     Page 7 of 17
Debtor 1       Jesse L. Trimble
Debtor 2       Kelli M. Trimble                                                                      Case number (if known)     23-20950

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............     Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............     Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                Beneficiary:                             Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
      Yes. Describe each claim.........

Official Form 106A/B                                          Schedule A/B: Property                                                                    page 5
          Case 23-20950-CMB                                 Doc 15            Filed 07/11/23 Entered 07/11/23 13:58:18                                              Desc Main
                                                                             Document     Page 8 of 17
Debtor 1         Jesse L. Trimble
Debtor 2         Kelli M. Trimble                                                                                                      Case number (if known)   23-20950

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................                 $53,812.49


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                 $100,000.00
56. Part 2: Total vehicles, line 5                                                                           $46,700.00
57. Part 3: Total personal and household items, line 15                                                       $7,700.00
58. Part 4: Total financial assets, line 36                                                                  $53,812.49
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                    $108,212.49               Copy personal property total            $108,212.49

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $208,212.49




Official Form 106A/B                                                              Schedule A/B: Property                                                                            page 6
             Case 23-20950-CMB                  Doc 15       Filed 07/11/23 Entered 07/11/23 13:58:18                               Desc Main
                                                            Document     Page 9 of 17
Fill in this information to identify your case:

Debtor 1                Jesse L. Trimble
                        First Name                   Middle Name                Last Name

Debtor 2                Kelli M. Trimble
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        WESTERN DISTRICT OF PENNSYLVANIA

Case number           23-20950
(if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     1254 Ohioview Drive Industry, PA                       $100,000.00                                $27,900.00      11 U.S.C. § 522(d)(1)
     15052 Beaver County
     *Fair Market Value determined by                                              100% of fair market value, up to
     CMA from 04/14/2023                                                           any applicable statutory limit
     Line from Schedule A/B: 1.1

     1254 Ohioview Drive Industry, PA                       $100,000.00                                  $1,178.00     11 U.S.C. § 522(d)(5)
     15052 Beaver County
     *Fair Market Value determined by                                              100% of fair market value, up to
     CMA from 04/14/2023                                                           any applicable statutory limit
     Line from Schedule A/B: 1.1

     2017 Dodge Ram 2500 75,000 miles                         $20,000.00                                 $3,619.00     11 U.S.C. § 522(d)(2)
     *Fair Market Value determined by
     KBB                                                                           100% of fair market value, up to
     Location: 1254 Ohioview Drive,                                                any applicable statutory limit
     Industry PA 15052
     Line from Schedule A/B: 3.1

     2021 Reiser 82" by 14' Trailer                            $1,700.00                                 $1,700.00     11 U.S.C. § 522(d)(5)
     *Fair Market Value determined by
     Purchase Price                                                                100% of fair market value, up to
     Location: 1254 Ohioview Drive,                                                any applicable statutory limit
     Industry PA 15052
     Line from Schedule A/B: 4.1


Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
           Case 23-20950-CMB                   Doc 15     Filed 07/11/23 Entered 07/11/23 13:58:18                                   Desc Main
                                                        Document      Page 10 of 17
Debtor 1    Jesse L. Trimble
Debtor 2    Kelli M. Trimble                                                                   Case number (if known)     23-20950
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Basic Household Goods &                                 $3,000.00                                  $3,000.00        11 U.S.C. § 522(d)(3)
    Furnishings
    Summary Available Upon Request                                               100% of fair market value, up to
    Location: 1254 Ohioview Drive,                                               any applicable statutory limit
    Industry PA 15052
    Line from Schedule A/B: 6.1

    Basic Electronics                                       $1,000.00                                  $1,000.00        11 U.S.C. § 522(d)(3)
    Location: 1254 Ohioview Drive,
    Industry PA 15052                                                            100% of fair market value, up to
    Line from Schedule A/B: 7.1                                                  any applicable statutory limit

    Hunting Rifles, 2 Handguns                              $1,200.00                                  $1,200.00        11 U.S.C. § 522(d)(5)
    Location: 1254 Ohioview Drive,
    Industry PA 15052                                                            100% of fair market value, up to
    Line from Schedule A/B: 10.1                                                 any applicable statutory limit

    Clothing                                                $2,000.00                                  $2,000.00        11 U.S.C. § 522(d)(3)
    Location: 1254 Ohioview Drive,
    Industry PA 15052                                                            100% of fair market value, up to
    Line from Schedule A/B: 11.1                                                 any applicable statutory limit

    Jewelry                                                    $500.00                                   $500.00        11 U.S.C. § 522(d)(4)
    Location: 1254 Ohioview Drive,
    Industry PA 15052                                                            100% of fair market value, up to
    Line from Schedule A/B: 12.1                                                 any applicable statutory limit

    1 Dog                                                         $0.00                                     $0.00       11 U.S.C. § 522(d)(5)
    Location: 1254 Ohioview Drive,
    Industry PA 15052                                                            100% of fair market value, up to
    Line from Schedule A/B: 13.1                                                 any applicable statutory limit

    Checking: West Aircomm FCU                                 $300.00                                   $300.00        11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    401(K): Ascensus                                       $53,512.49                                $53,512.49         11 U.S.C. § 522(d)(12)
    Line from Schedule A/B: 21.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
             Case 23-20950-CMB                   Doc 15        Filed 07/11/23 Entered 07/11/23 13:58:18                                  Desc Main
                                                             Document      Page 11 of 17



Fill in this information to identify your case:

Debtor 1                  Jesse L. Trimble
                          First Name                  Middle Name                   Last Name

Debtor 2                  Kelli M. Trimble
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          WESTERN DISTRICT OF PENNSYLVANIA

Case number           23-20950
(if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until              Wages, commissions,                      $19,706.84            Wages, commissions,                $11,164.86
the date you filed for bankruptcy:
                                               bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
          Case 23-20950-CMB                       Doc 15        Filed 07/11/23 Entered 07/11/23 13:58:18                                 Desc Main
                                                              Document      Page 12 of 17
Debtor 1     Jesse L. Trimble
Debtor 2     Kelli M. Trimble                                                                          Case number (if known)   23-20950

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income            Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                exclusions)                                                 and exclusions)

For last calendar year:                            Wages, commissions,                      $56,954.86            Wages, commissions,              $46,659.52
(January 1 to December 31, 2022 )
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business

For the calendar year before that:                 Wages, commissions,                      $53,041.18            Wages, commissions,              $38,377.92
(January 1 to December 31, 2021 )
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income            Gross income
                                                Describe below.                 each source                    Describe below.              (before deductions
                                                                                (before deductions and                                      and exclusions)
                                                                                exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                           Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                 paid            still owe
Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
          Case 23-20950-CMB                      Doc 15        Filed 07/11/23 Entered 07/11/23 13:58:18                                    Desc Main
                                                             Document      Page 13 of 17
Debtor 1     Jesse L. Trimble
Debtor 2     Kelli M. Trimble                                                                         Case number (if known)    23-20950

      Insider's Name and Address                          Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                paid            still owe
      Parents                                             2021 - 2023                      $4,050.00          $27,947.00        Camper
                                                          1.5 years of
                                                          payments for
                                                          Camper


8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                paid            still owe       Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                          Nature of the case           Court or agency                          Status of the case
      Case number
      Universal Windows Direct Inc. vs.                   Arbitration                  Court of Common Pleas of                    Pending
      Kelli Trimble                                                                    Beaver County                               On appeal
      10358-2023                                                                       Beaver County Courthouse
                                                                                                                                   Concluded
                                                                                       810 Third Street
                                                                                       Beaver, PA 15009
                                                                                                                                Stayed by the filing of this
                                                                                                                                case


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                           Describe the Property                                          Date                        Value of the
                                                                                                                                                        property
                                                          Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                           Describe the action the creditor took                          Date action was                Amount
                                                                                                                         taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
          Case 23-20950-CMB                      Doc 15           Filed 07/11/23 Entered 07/11/23 13:58:18                                    Desc Main
                                                                Document      Page 14 of 17
Debtor 1     Jesse L. Trimble
Debtor 2     Kelli M. Trimble                                                                            Case number (if known)    23-20950

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                 Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                      Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your        Value of property
      how the loss occurred                                                                                                 loss                             lost
                                                         Include the amount that insurance has paid. List pending
                                                         insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment              Amount of
      Address                                                      transferred                                              or transfer was            payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Steidl and Steinberg P.C.                                                                                             April 7, 2023             $1,838.00
      707 Grant Street
      Suite 2830 - Gulf Tower
      Pittsburgh, PA 15219


      Summit Financial Education, Inc.                                                                                                                   $14.95
      4800 E Flower Street
      Tucson, AZ 85712


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment              Amount of
      Address                                                      transferred                                              or transfer was            payment
                                                                                                                            made


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
          Case 23-20950-CMB                          Doc 15       Filed 07/11/23 Entered 07/11/23 13:58:18                                 Desc Main
                                                                Document      Page 15 of 17
Debtor 1      Jesse L. Trimble
Debtor 2      Kelli M. Trimble                                                                            Case number (if known)   23-20950

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or        Date transfer was
      Address                                                      property transferred                       payments received or debts      made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                              made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was             Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,            before closing or
      Code)                                                                                                           moved, or                         transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?             Describe the contents                 Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                               have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access             Describe the contents                 Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                       have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                 Describe the property                            Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
         Case 23-20950-CMB                         Doc 15       Filed 07/11/23 Entered 07/11/23 13:58:18                                    Desc Main
                                                              Document      Page 16 of 17
Debtor 1     Jesse L. Trimble
Debtor 2     Kelli M. Trimble                                                                               Case number (if known)   23-20950

     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                   Status of the
      Case Number                                                Name                                                                            case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business                   Employer Identification number
      Address                                                                                                    Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
      Name                                                 Date Issued
      Address
      (Number, Street, City, State and ZIP Code)

Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
         Case 23-20950-CMB                  Doc 15       Filed 07/11/23 Entered 07/11/23 13:58:18                                Desc Main
                                                       Document      Page 17 of 17
Debtor 1     Jesse L. Trimble
Debtor 2     Kelli M. Trimble                                                                   Case number (if known)   23-20950

are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Jesse L. Trimble                                          /s/ Kelli M. Trimble
Jesse L. Trimble                                              Kelli M. Trimble
Signature of Debtor 1                                         Signature of Debtor 2

Date     July 11, 2023                                        Date     July 11, 2023

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person          . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 7
